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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
       IN RE:                                                        Case No.:21−30999−acs
       Manuel Stewart, II
                                                                     Chapter: 13
                                 Debtor(s)                           Judge: Alan C. Stout




                                             NOTICE
       TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

       Please be advised that the following matter has been Entered by the Court on this date:

       Motion to Modify Plan to Increase plan payment and resolve plan arrears. Filed by
       Debtor Manuel Stewart II. Objections due by 01/28/2025. Any objection must be
       typewritten and in proper pleading form as required by Federal and Local Rules.
       (Attachments: # 1 Proposed Order # 2 Budget) (Hirsch, Tracy)



       Dated: 1/7/25
                                                            FOR THE COURT
       By:                                                  Elizabeth H. Parks
       Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
